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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                FORT LAUDERDALE DIVISION

                               CIVIL ACTION NO.: ___________

 JOSHUA KELLY, on behalf of himself and
 all others similarly situated,

             Plaintiff,

 v.

 LAMPASAS, INC. d/b/a EMERALD ELITE
 SENIOR HOME CARE and ERNEST OLIVAS,

           Defendants.
 __________________________________/

                            COLLECTIVE ACTION COMPLAINT

                Plaintiff, JOSHUA KELLY (“Plaintiff”), on behalf of himself and the class of those

 similarly situated to Plaintiff, sues Defendants, LAMPASAS, INC. d/b/a EMERALD ELITE

 SENIOR HOME CARE (“Defendant Company”) and ERNEST OLIVAS (“Defendant

 Individual”) (collectively, “Defendants”), and alleges as follows:

                                  NATURE OF THE ACTION

        1.      This is an action brought by Plaintiff, on behalf of himself and those similarly

 situated to Plaintiff, against Defendants for unpaid overtime compensation under the Fair Labor

 Standards Act, as amended, 29 U.S.C. § 201 et seq. (“FLSA”).
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                            PARTIES, JURISDICTION AND VENUE

         2.     This action is brought to recover from Defendants unpaid overtime compensation,

 liquidated damages, costs, interest, and reasonable attorneys’ fees under the provisions of the

 FLSA.

         3.     At all material times hereto, Plaintiff has resided in Miami-Dade County, Florida.

 Plaintiff is an employee of the Defendants. Plaintiff works for the Defendants in Broward County,

 Florida.

         4.     At all material times hereto, Defendant Company has operated and continues to

 operate its business in Broward County, Florida.

         5.     At all material times hereto, Defendant Company had two (2) or more employees

 who regularly sold, handled, or otherwise worked on goods and/or materials that had been moved

 in or produced for commerce.

         6.     Based upon information and belief, the annual gross sales volume of Defendant

 Company has been in excess of $500,000.00 per annum at all material times hereto

         7.     At all material times hereto, Defendant Company was an enterprise engaged in

 interstate commerce or in the production of goods for commerce as defined by the FLSA, 29 U.S.C.

 § 203(s).

         8.     Upon information and belief, Defendant Individual has resided in Broward County,

 Florida at all material times hereto.

         9.     At all material times hereto, Defendant Individual managed and/or operated

 Defendant Company and regularly exercised the authority to hire and fire employees, determined

 the work schedules of employees, set the rates of pay for employees and/or controlled the finances

 and operations of Defendant Company. By virtue of such control and authority, Defendant



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 Individual is an employer of Plaintiff, and those similarly situated to Plaintiff, as such term is

 defined by the FLSA, 29 U.S.C. § 203(d).

         10.     Jurisdiction is conferred on the Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

         11.     Venue is proper in the U.S. District Court for the Southern District of Florida (the

 “District”) because Plaintiff was employed in the District by Defendants, which at all material

 times conducted and/or continues to conduct business in the District and because the acts that give

 rise to Plaintiff’s claims occurred within the District. Both Defendants are subject to personal

 jurisdiction within the District.

         12.     All conditions precedent to the bringing of this action have been satisfied and/or

 waived.

                                     GENERAL ALLEGATIONS

         13.     Plaintiff has worked for Defendants from in or about September 2017 through the

 present.

         14.     At all material times hereto, Defendant Company has and continues to operate as a

 home care agency.

         15.     At all material times hereto, Plaintiff (and other similarly situated employees) has

 worked as a non-exempt employee for Defendants but has been misclassified by Defendants as an

 independent contractor.

         16.     At all material times hereto, Plaintiff (and other similarly situated employees) has

 worked and continues to work for Defendants as a home care aide.

         17.     In 2017, Plaintiff was paid a regular rate of $10 per hour.

         18.     In 2018, Plaintiff was paid a regular rate of $11 per hour.

         19.     In 2019, Plaintiff was paid a regular rate of $12 per hour.



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        20.        During certain work weeks in 2017, 2018, and 2019, Plaintiff worked over 40 hours

 per work week but Defendants did not pay Plaintiff a half time rate per overtime hour Plaintiff

 worked for Defendant as required by the FLSA.

        21.        Based upon information and belief, all of the records concerning the exact number

 of hours actually worked by Plaintiff and other similarly situated employees and the compensation

 actually paid to Plaintiff and other similarly situated employees are in the possession, custody or

 control of Defendants.

                       COUNT I – RECOVERY OF OVERTIME COMPENSATION
                        IN VIOLATION OF THE FLSA (29 U.S.C. § 201 ET SEQ.)

        22.        Plaintiff re-adopts and re-alleges all allegations contained in paragraphs 1-21 of this

 Complaint.

        23.        At all material times hereto, Plaintiff, and other similarly situated employees, are

 entitled to be paid half of his regular rate of pay for each hour worked for Defendants in excess of

 forty (40) hours per week.

        24.        At all material times hereto, Defendants knowingly and willfully failed to pay

 Plaintiff and other similarly situated employees at the appropriate overtime compensation rate for

 all hours worked in excess of forty (40) per week.

        25.        By reason of the said intentional, willful, and unlawful acts of Defendants, Plaintiff,

 and other similarly situated employees, have suffered damages plus incurred reasonable attorneys’

 fees and costs.

        26.        As a result of Defendants’ willful violations of the FLSA, Plaintiff, and other

 similarly situated employees, are entitled to liquidated damages from Defendants.

        WHEREFORE, Plaintiff demands judgment, jointly and severally, against Defendants for

 the payment of all overtime hours at one and one-half the regular rate of pay due to him, and other

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 similarly situated employees, for the hours worked by him and them for which them have not been

 properly compensated, liquidated damages, reasonable attorneys’ fees and costs of suit, and for all

 other proper relief, including interest and injunctive relief.

                                           JURY DEMAND

                Plaintiff hereby demands trial by jury of all issues so triable.

                Respectfully submitted this 17th day of June 2019.

                                                By:     /s/ Diane P. Perez
                                                        Diane P. Perez, Esq., B.C.S. (41869)
                                                        E-mail: diane@dianeperezlaw.com
                                                        DIANE PEREZ, P.A.
                                                        201 Alhambra Circle, Suite 1200
                                                        Coral Gables, Florida 33134
                                                        Telephone: (305) 985-5676
                                                        Facsimile: (305) 985-5677
                                                        Attorney for Plaintiff




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